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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

               Plaintiff,
                                                 Case No. 11-cr-20066-8 &
                                                 11-cr-20129-14
  vs.                                            Hon.: Robert H. Cleland

  MICHAEL RICH,

             Defendant.
  _________________________________/

               ORDER FOR NON-CUSTODIAL TRAVEL EXPENSES

        Upon reading and filing of the Motion for Non-Custodial Travel Expenses,

  and the Court being fully advised in the premises;

        IT IS HEREBY ORDERED that the U.S. Marshall furnish Defendant,

  Michael Rich, with one-way, non-custodial transportation from Anniston, Alabama

  to Detroit, Michigan, for purposes of satisfying his mandated appearance on

  October 23, 2012 at 2:30 p.m.

                                           s/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           United States District Judge
